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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                          *

v.                                                *           Criminal No. JKB-15-462

RAYMOND IDEMUDIA AIGBEKAEN,                       *

Defendant.                                      *
                                               ***
                                              ORDER

       The Court has reviewed Mr. Aigbekaen’s most recent submission (ECF No. 382). He has

no legitimate claim to discovery at this juncture. Further, he has stated an insufficient basis for

the undersigned to consider whether he should recuse himself from further proceedings in this

matter. No doubt this Court has entered a number of rulings adverse to the Defendant, but in those

rulings there is no basis for concluding that the Court is biased or prejudiced or otherwise incapable

of giving the Defendant’s submissions fair and impartial consideration. Accordingly, these

requests are DENIED.


       IT IS SO ORDERED this 20th day of May, 2020.



                                               FOR THE COURT:


                                               ________________/s/__________________
                                               James K. Bredar
                                               Chief Judge
